17-13484-shl        Doc 6      Filed 12/05/17        Entered 12/05/17 09:26:41   Main Document
                                                    Pg 1 of 12



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
In re:
                                                                 Chapter 11
 PONDEROSA ENERGY, LLC, and
 GS ENERGY, LLC                                                  Case No. 17-_ _ (_)

                                   Debtor.                       (Joint Administration Requested)
----------------------------------------------------------x
                                       Chapter 11 Debtors' Affidavit

         1.      My name is Richard Sands. I am over 21 years old. I am the authorized

representative of Ponderosa Energy LLC ("Ponderosa") and GS Energy LLC ("GSE," and,

together with Ponderosa, the "Debtors"). I make this declaration based on my personal

knowledge of the Debtors and their operations, as well as from information I have gathered from

individuals working for me on behalf of the Debtors.

                                  Information Required by BLR 1007-2

(a)(1) Nature of the Debtors and these cases

         2.       The Debtors are oil and gas exploration and production companies. Their primary

assets are oil and gas leases in Texas. Their primary place of business is their headquarters in

Manhattan from which the operations of the Debtors are administered.

         3.       In 2016, Ponderosa and GSE entered into secured financing arrangements with

PPF 2 LLC ("PPF2") and PPF 3 LLC ("PPF3"), respectively, for a total of approximately $4.61

million. The loans were structured as volumetric production payments, or VPPs. Under this

structure, instead of fixed cash payments, the lender is entitled to the monthly revenue from a

fixed quantity of future oil production. Although the borrow retains the burdens of ownership of

the oil and the lender takes a lien on the oil, the VPP documents themselves recite that the oil is




Debtors' Chapter 11 Declaration                                                                       1
17-13484-shl      Doc 6     Filed 12/05/17     Entered 12/05/17 09:26:41         Main Document
                                              Pg 2 of 12



"conveyed" to the lender at the time the facility is funded. In this way, secured loan financing

under a VPP is disguised as a sale of property. This is designed to skirt usury laws.

        4.       PPF marketed the VPP structure aggressively in its negotiations with the Debtors.

PPF repeatedly claimed that the cost of borrowing under the VPP would be lower than through

alternative asset-backed loan arrangements. The VPP structure was extremely one-sided. On the

one hand, the VPP structure did not call for fixed cash payments, but instead purported to convey

to PPF future oil production on a monthly basis. This meant that if the price of oil increased

significantly, PPF would reap extraordinary gains and the Debtors would be forced to bear

usurious borrowing costs. On the other hand, the VPP also gave PPF a security interest in the

Debtors' oil and gas assets that would allow PPF to foreclose, just like any other secured lender,

in the event that oil production was less than anticipated.

        5.       Aware of the potential for abuse in this structure, the Debtors demanded price

protection. PPF agreed to a rebate mechanism. If the oil was sold at a price above $28 per

barrel, PPF would rebate 75% of the proceeds above that price to the Debtors. For example, if

PPF were entitled to revenue from the sale of 1,000 barrels of oil in a given month, and the oil

was sold that month for $50 per barrel, PPF would refund to the Debtors $22,000 (or .75 x 1,000

x (50-28)). The rebate thus ensured that PPF would not gain an unfair windfall from an increase

in oil prices.

        6.       John Lane, one ofPPF's agents in the negotiations ofthe VPPs, explained to the

Debtors that, with the rebates, the effective interest rate on the financing was competitive with

other asset-backed loans which, at that time, typically carried 4.5% interest.

        7.       In 2017, despite heavy investment by the Debtors into their properties, oil

production from the Ponderosa leases was less than anticipated. At the same time, PPF actively




Debtors' Chapter 11 Declaration                                                                      2
17-13484-shl     Doc 6     Filed 12/05/17     Entered 12/05/17 09:26:41            Main Document
                                             Pg 3 of 12



interfered with the Debtors' oil production and undermined their ability to perform under the

financing arrangements by, among other things: (a) soliciting the Debtors' personnel and

contractors; (b) telling the Debtors' vendors and employees that they intended to foreclose on the

Debtors' leases; (c) failing to provide balances of the debt outstanding; (d) refusing to provide an

accurate accounting of the number of barrels of oil delivered and sold, thus making it impossible

for the Debtors themselves to determine the amount of debt outstanding; and (e) preventing the

Debtors from further investing in the properties by threatening foreclosure, and doing so without

given any prior notice of any alleged default.

       8.      In addition to this interference with the Debtors' operations, PPF breached the

terms of the secured financing by noticing foreclosure without giving prior notice of an alleged

default and by refusing to pay millions in dollars of rebates owed to the Debtors on account of

the high price of oil. The Debtors approached PPF numerous times in an effort to negotiate a

settlement, but PPF made the negotiations impossible by refusing to provide the Debtors with an

outstanding balance or an accounting of the barrels of oil produced and sold.

       9.      In short, PPF has engaged in fraudulent, tortious and usurious predatory lending.

PPF promised the Debtors a structured fmancing arrangement at a competitive cost of borrowing

and a rebate mechanism to prevent overcharging in case the price of oil increased. In reality,

PPF set the Debtors up to fail. PPF interfered with their operations, making it impossible for the

Debtors to meet production targets; refused to pay millions of dollars in rebates; and abused the

VPP structure itself- which ostensibly transferred only a portion of the Debtors' future oil

production - in an attempt to seize all of the Debtors' assets in a foreclosure.

        10.    The Debtors have filed these chapter 11 cases to halt the foreclosure and provide

an efficient forum for resolving their claims against PPF and restructuring their businesses.




Debtors' Chapter 11 Declaration                                                                     3
17-13484-shl     Doc 6     Filed 12/05/17     Entered 12/05/17 09:26:41         Main Document
                                             Pg 4 of 12



(a)(l) Trustees and committees in cases under chapter 7 or 13

       11.     These are chapter 11 cases. There are no trustees or creditors' committees.

(a)(3) Committee contact information

       12.     There were no committees organized prior to the order for relief.

(a)(4) 20 largest creditors

       13.     Creditor information is included in the disclosures of the 20 largest creditors filed

for each of the Debtors in these cases.

(a)(S) Secured creditors

       14.     Ponderosa has one secured creditor. The creditor is PPF 2 LLC ("PPF2"). The

contact for this lender is Davis Martin, 400 N. St. Paul, Suite 505, Dallas, Texas 75201,

telephone 214-468-8606. The amount of the claim is in dispute. The amount of the loan facility

was approximately $2.51 million. A portion has been repaid, and any outstanding balance is

subject to substantial offsets. The loan is secured by a lien on Ponderosa's mineral leases. The

estimated value of these assets is $7.5 million.

       15.     GSE has one secured creditor. The creditor is PPF 3 LLC ("PPF3"). The contact

for this lender is Davis Martin, 400 N. St. Paul, Suite 505, Dallas, Texas 75201, telephone 214-

468-8606. The amount of the claim is in dispute. The amount of the loan facility was

approximately $2.1 million. A portion has been repaid. The loan is secured by a lien on

Ponderosa's mineral leases. The estimated value of these assets is $7.5 million.

(a)(6) Summary of assets and liabilities

        16.    Ponderosa's assets consist of a portfolio of oil and gas leases in Texas. These

have an estimated value of$7.5 million. Ponderosa also has cash on hand and sundry




Debtors' Chapter 11 Declaration                                                                    4
17-13484-shl     Doc 6     Filed 12/05/17     Entered 12/05/17 09:26:41          Main Document
                                             Pg 5 of 12



receivables of less than $100,000. Ponderosa earns substantial cash revenue from the sale of oil

and gas produced from Ponderosa's leases.

          17.   Ponderosa's liabilities consist of a secured debt to PPF2 in an amount that is in

dispute. Ponderosa owes unsecured liabilities related to hedging contracts of approximately

$680,000. Ponderosa has trade payables to vendors of less than $100,000.

          18.   GSE's assets consist of a portfolio of oil and gas leases in Texas. These have an

estimated value of$7.5 million. GSE also has cash on hand and sundry receivables ofless than

$100,000. GSE earns substantial cash revenue from the sale of oil and gas produced from GSE's

leases.

          19.   GSE' s liabilities consist of a secured debt to PPF3 in an amount that is in dispute.

GSE has an unsecured debt from a prior financing in the amount of approximately $359,000.

GSE has trade payables to vendors of approximately $600,000.

(a)(7) Equity interests

          20.   Ponderosa is an LLC. 100% of the membership interests are owned by Ponderosa

Energy Holdings LLC.

          21.   GSE is an LLC. 100% of the membership interests are owned by RNP LLC, a

Delaware limited liability company.

(a)(8) Property held by custodians

          22.   None of the Debtors' property is held by a custodian, public officer, mortgagee,

pledgee, assignee of rents or secured creditor.




Debtors' Chapter 11 Declaration                                                                         5
17-13484-shl       Doc 6    Filed 12/05/17     Entered 12/05/17 09:26:41        Main Document
                                              Pg 6 of 12



(a)(9) Premises

       23.       Both Debtors conduct their business out of leased office space at 745 Fifth

Avenue, New York City, New York 10151. The Debtors also derive income from their oil and

gas leases.

(a)(lO) Location of assets, books and records and assets held abroad

       24.       The Debtors books and records are held at their offices in New York. The

Debtors' primary assets are the oil and gas leases located in Texas. The Debtors do not hold any

assets abroad.

(a)(ll) Pending litigation

       25.       PPF2 and PPF3 have wrongfully initiated foreclosure proceedings in Texas

against the Debtors. This process was notices as a substitute trustee's sale, and there is no

pending court proceeding.

        26.      PPF2 and PPF3 have also initiated litigation against the Debtors and others in

Petroleum Prod. Fin., Inc. v. GS Energy, LLC, Cause No. DC-17-04608 (Dist. Ct. Dallas Cty.

Texas). That litigation is pending, but no judgment of seizure of the Debtors' property is

anticipated imminently.

(a)(12) Management

        27.      Richard Sands is the head of the management team for both Debtors. In addition

to overseeing operations, he is also responsible for financing activities. Richard Sands is resident

in New York City and works at the Debtors' offices on Fifth Avenue. Richard Sands also

provides financial, managerial and administrative services to the Debtors through his role at

Casimir Resources Advisors LLC ("CRA").




Debtors' Chapter 11 Declaration                                                                    6
17-13484-shl      Doc 6     Filed 12/05/17     Entered 12/05/17 09:26:41        Main Document
                                              Pg 7 of 12



        28.      Adam Sands provides administrative support is primarily responsible for the

operational activities of the Debtors. Adam is resident in New York City and works at the

Debtors' offices on Fifth Avenue.

        29.      William Poon provides financial, human resources and administrative services to

the Debtors. These services are provided through William Poon's role at CRA.

        30.    The Debtors compensate CRA from time to time for the benefit of the services

provided by CRA, including services provided by Richard Sands and William Poon.

(b)(1) Payroll

        31.      Weekly payroll to employees (exclusive of officers, directors, stockholders and

partners) for the 30-day period following the filing of the chapter 11 petitions will be

approximately $3,550 for Ponderosa.

(b)(l)(A) Payments to officers of a corporation

        32.      Neither of the Debtors is a corporation.

(b )(l)(B) Payments to owners of a partnership

        33.      The Debtors are both LLC that are 100% owned by other entities. No payments

are anticipated to be made to the owners during the 30 days following the filing of the chapter 11

petitions.

(b)(l)(C) Payments to consultants

        34.      The Debtors have not retained financial consultants. The Debtors have an

existing management relationship with CRA whereby CRA personnel provide administrative

services. No payments under the CRA relationship are anticipated for the 30 days following the

filing of the chapter 11 petitions. The Debtors also consult from time to time with Cory




Debtors' Chapter 11 Declaration                                                                    7
17-13484-shl     Doc 6    Filed 12/05/17     Entered 12/05/17 09:26:41         Main Document
                                            Pg 8 of 12



Meadows, an oil and gas professional resident in Texas. Cory's fees are paid by the operator of

the Ponderosa leases and not by either of the Debtors.

(b )(3) 30-day cash budget

       35.     This information will be filed separately as part of an operating cash budget.

                             Additional Background Information

Ponderosa

       36.     Ponderosa is a Delaware limited liability company formed on April15, 2015.

Ponderosa is wholly owned by Ponderosa Energy Holdings LLC, a Nevada limited liability

company of which I am an authorized representative.

       37.     Ponderosa is in the oil and gas business. Ponderosa holds working interests in

mineral leases located in Carson, Gray and Hutchinson counties in Texas (the "Ponderosa

Assets").

       38.     Ponderosa's principal place of business is its headquarters at 745 Fifth Avenue,

New York City, New York 10151. Ponderosa administers its assets from this headquarters.

Ponderosa does not directly operate any of its leases. Ponderosa's leases are operated by

Ponderosa TX Operating LLC, a non-debtor entity.

       39.     Ponderosa has three employees. Two ofthose employees are in New York. The

third employee is in Houston. The employees are paid through a payroll administrator.

Ponderosa pays approximately $7,100 on a semi-monthly basis to a payroll company called

Insperity, Inc., who in turn handles withholding, salary payments and insurance payments.

       40.     Ponderosa maintains a single bank account at Signature Bank in New York.




Debtors' Chapter 11 Declaration                                                                   8
17-13484-shl     Doc 6    Filed 12/05/17     Entered 12/05/17 09:26:41         Main Document
                                            Pg 9 of 12



 GSEnergy

        41.     GSE is a Delaware limited liability company formed on September 13, 2016.

 GSE is wholly owned by RNP, LLC, a Delaware limited liability company of which I am an

 authorized representative.

        42.     Like Ponderosa, GSE is in the oil and gas business. GSE holds working interests

 in mineral leases located in Carson, Moore and Hutchinson counties in Texas (the "GSE

 Assets").

        43.     GSE's principal place of business is its headquarters at 745 Fifth Avenue, New

 York City, New York 10151. GSE administers its assets from this headquarters.

        44.     GSE maintains a single bank account at Signature Bank in New York.

 The Ponderosa Financing

        45.     In 2016, Ponderosa began negotiations to explore funding options to finance

 development projects, remedial projects and acquisitions to expand production.

        46.     PPF2 and Ponderosa explored several financing structures, including reserve

 based lending and other forms of secured financing. PPF2 eventually proposed a structure called

 a volumetric purchase payment, or VPP.

        47.     Under the VPP, PPF2 would ostensibly "buy" a portion of Ponderosa's future oil

 production in exchange for an up-front payment. Although Ponderosa's leases produce both gas

 and oil, the VPP would apply only to oil production.

        48.     In substance, this was a secured financing. PPF2 did not actually want oil. In

 fact, PPF2 lacked any facilities or equipment that would be necessary receive oil. Instead, it

 wanted cash payments on a monthly basis based on the anticipated future production of oil. If




 Debtors' Chapter 11 Declaration                                                                  9
17-13484-shl       Doc 6     Filed 12/05/17    Entered 12/05/17 09:26:41          Main Document
                                              Pg 10 of 12



those payments were not made, PPF2 would have the option to foreclose on the oil, just like a

secured lender.

       49.        Throughout the negotiations, PPF2 consistently represented the VPP structure as

just another type of secured lending. PPF2 aggressively sold the VPP structure, repeatedly

claiming that it would be less expensive than traditional asset-based lending structures.

        50.       On October 11, 2016, Ponderosa and PPF2 agreed on a VPP (the "Ponderosa

Financing") and signed four related instruments. A Purchase and Sale Agreement ("Ponderosa

PSA") set the "purchase price" of future oil production at approximately $2.51 million in

exchange for "a non-operating, non-expense-bearing, limited overriding royalty interest in and to

the Subject Interests (being real property interest), free of all cost, risk and expense of

production, operations, processing and delivery to the Delivery Point."

        51.       The "royalty interest" ostensibly entitled PPF2 to 90% of the oil produced by

Ponderosa's leases until PPF2 had received a total of75,000 barrels of oil from the leases.

Ponderosa was required to use its "best efforts" to cause the leases to produce at 2,000 barrels of

oil per month through June 2019, and then 1,000 barrels of oil per month thereafter.

        52.       As with other financings disguised as sales, the Ponderosa PSA required that

Ponderosa - and not PPF2, the ostensible "buyer" - would retain all the burdens of ownership,

including tax and insurance obligations. The Ponderosa PSA specifically provided that the

royalty interest conveyed "shall at all times be treated for federal income tax purposes ... as a

mortgage loan." Nevertheless, the parties also executed a Conveyance of Term Overriding

Royalty Interest and a Deed of Trust that purported to grant PPF2 a security interest over the

interests in the mineral leases, including those portions ostensibly already conveyed to PPF2

under the "conveyance" instrument.




Debtors' Chapter 11 Declaration                                                                     10
17-13484-shl      Doc 6     Filed 12/05/17    Entered 12/05/17 09:26:41        Main Document
                                             Pg 11 of 12



The GSE Financings

        53.     Soon after the Ponderosa Financing closed, GSE sought to enter into a similar

funding arrangement. As with the Ponderosa Financing, the GSE VPP would only apply to oil

production, even though GSE's leases produced both gas and oil.

        54.     GSE was skeptical, however, that the VPP structure of the Ponderosa Financing

was unduly burdensome and could lead to excessive borrowing costs. If the price of oil

increased, Ponderosa's monthly payments to PPF2 might far exceed any reasonable rate of return

on the loan. At the time, oil prices were in the mid-$30s per barrel and the barrels ostensibly

purchased through the VPP structure were priced at the mid-$20s per barrel. Indeed, PPF2 stood

to make an extraordinary return on its loan well in excess of 40% per annum.

        55.     To remedy this situation, GSE insisted that its VPP include a rebate mechanism.

If oil were sold at a price higher than $28 per barrel, the lender would be required to rebate 75%

of the revenue earned over that price. This way, if the price of oil went up, GSE would receive a

fair share of the up side and the cost of borrowing would not become excessive. The lender

 would still be entitled to upside, but GSE could be comfortable that the financing would still be

 fair and equitable to both parties.

         56.     On or about December 1, 2016, GSE entered into a secured financing

 arrangement with PPF3 (the "GSE Financing"). PPF3 is an affiliate ofPPF2. The same

 individuals who were involved in the Ponderosa Financing negotiated the GSE Financing.

         57.     The documentation of the GSE Financing was similar to the documents used in

 the Ponderosa Financing. GSE and PPF3 entered into a Purchase and Sale Agreement (the "GSE

 PSA") under which PPF3 loaned $2.1 million to GSE. The GSE PSA described the loan as the

 "purchase" of a "royalty interest" in oil produced from GSE's leases. The parties also executed a




 Debtors' Chapter 11 Declaration                                                                  11
17-13484-shl     Doc 6     Filed 12/05/17     Entered 12/05/17 09:26:41        Main Document
                                             Pg 12 of 12



conveyance agreement and a security agreement that granted PPF3 a lien over all of GSE' s

interests in the leases, including those interests ostensibly already conveyed to PPF3.

       58.     The GSE Financing included the rebate mechanism. In fact, as an inducement to

GSE to enter into the GSE Financing, PPF3 caused PPF2 to offer the same rebate mechanism to

the Ponderosa Financing. The inducement was effective because GSE and Ponderosa have

common ownership.

       59.     Despite an express agreement regarding the rebate mechanism, PPF2 and PPF3

dragged their feet on the documentation, and ultimately reneged on the commitment altogether.

       60.     Between October 2016 and March 2017, Ponderosa made its best efforts to

produce oil from its leases, but was unable to produce the 2,000 barrels per month anticipated

under the Ponderosa Financing. Despite this shortfall in production, Ponderosa made a series of

good faith payments over and above the sale proceeds from the oil actually produced.

       61.     Despite receiving the good faith payments, PPF2 called the "Ponderosa

Mortgage" and sought to foreclose on Ponderosa's leases without providing any notice of

default. The foreclosure proceedings precipitated these chapter 11 filings.

       62.     Unlike Ponderosa, GSE was able to meet its production targets. Nevertheless,

without any notice of an alleged default, PPF3 initiated foreclosure proceedings against GSE's

assets as well, precipitating these chapter 11 filings.

       I declare under penalty of perjury that the foregoing is true and correct.

Executed on December 4, 2017.




                                                Richard Sands




Debtors' Chapter 11 Declaration                                                                  12
